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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                                 Civil Action No.
 RESTORIX HEALTH, INC.,
                                                 1:22−cv−02712−RBK−AMD
                       Plaintiff,

               vs.
                                                 JOINT DISCOVERY PLAN
 SALEM COUNTY HOSPITAL
 CORPORATION,

                       Defendants.

   1. Set forth the name of each attorney appearing, the firm name, address and telephone
      number and facsimile number of each, designating the party represented.

      Attorneys for Plaintiff Restorix Health, Inc.:

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      Attorneys for Defendant Salem County Hospital Corporation:
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   2. Set forth a brief description of the case, including the causes of action and defenses
      asserted.

      Plaintiff’s Position:
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      Plaintiff Restorix Health, Inc. (“Restorix”) filed this Complaint due to the failure of
      Defendant Salem County Hospital Corporation (“Salem”) to honor its obligations to
      Restorix as set forth in the parties Administrative Services and Professional Staff
      Agreement (the “Agreement”). Specifically, Salem has failed to pay for services provided
      and owes Restorix an outstanding balance of $582,315.18. Furthermore, pursuant to the
      terms of the Agreement, Restorix is entitled to promptly remove all of its property from
      Salem’s facility and Salem is prohibited from taking any action to encumber any equipment
      or property of Restorix. Restorix maintains that it is the lawful owner of the Sigma 34
      Hyperbaric Chamber (“HBO Chamber”) and is entitled to have it promptly returned.
      Plaintiff asserts causes of action for Breach of Contract, Breach of the Covenant of Good
      Faith and Fair Dealing, Account Stated, and Replevin.


      Defendant’s Position:.

      Defendant, Salem County Hospital Corporation (“Salem”) filed its Answer, Affirmative
      Defenses, and Counterclaims disputing that Salem failed to pay for services in the amount
      alleged in the Complaint and disputing that Restorix is entitled to replevin of the Sigma 34
      HBO Chamber. Moreover, Salem filed Counterclaims against Restorix for failing to
      comply with its obligations pursuant to the Agreement, specifically, failing to assist Salem
      and report treatment information and data required for Salem to administer its compliance
      program, failing to consult with Salem regarding performance improvement measures for
      the CWC Facility, failing to use Salem’s on quality and standard of performance measures
      for the CWC Facility, failing to advertise and promote the CWC Facility, and failing to
      work with Salem to advertise and promote the Awareness Program. Furthermore, Salem
      seeks declaratory judgment reforming the unconscionable Agreement to prohibit Restorix
      repossessing the HBO chamber due its life-saving nature. Salem asserts Counterclaims
      against Restorix for Breach of Contract, Breach of the Implied Covenant of Good Faith
      and Fair Dealing, and Declaratory Judgment Reforming the Unconscionable Agreements
      to Strike the Right of Repossession/Replevin of Life-Saving Medical Equipment to Prevent
      Manifest Injustice and Preserve Human Lives.

   3. Have settlement discussions taken place? Yes.

              What was plaintiff’s last demand?
              Monetary demand:
              Non-monetary demand: Dismissal of Salem’s counterclaims and return of the
              HBO Chamber.

              What was defendant’s last offer?
              Monetary offer: 43% of the outstanding invoices confirmed due and owing by
              Salem.
              Non-monetary offer:

   4. The parties have met pursuant to Fed. R. Civ. P. 26(f).

   5. The parties have not exchanged the information required by Fed. R. Civ. P. 26(a)(1).
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      The parties propose to exchange this information in accordance with the
      schedule set forth below.
   6. Explain any problems in connection with completing the disclosures required by Fed. R.
      Civ. P. 26(a)(1). None.

   7. The parties have not filed disclosures of third–party litigation funding.

   8. The parties have not conducted discovery other than the above disclosures.

   9. Proposed joint discovery plan:

              (a)       The parties agree that discovery is needed on the following areas:

                       Negotiation and execution of the Agreement;

                       Communications between Plaintiff and Defendant regarding performance
                        under the Agreement;

                       Communications and documents related to any and all disputes under the
                        Agreement;

                       Any and all payments made under the Agreement;

                       Any and requests for payment/reasons for nonpayment;

                       Services provided under the Agreement;

                       Documents related to any mitigation of damages;

                       Proof of damages;

              Salem also anticipates the need for discovery on the topics listed below. Restorix
              reserves the right at the appropriate time to object to this discovery.

                       The fair market value of the Sigma 34 HBO Chamber;

                       An analysis of the treatment and care the Sigma 34 HBO Chamber
                        provides to patients.

              (b) Discovery should not be conducted in phases or be limited to particular
              issues.

              (c) Proposed schedule:

                        (1) Fed. R. Civ. P. 26 Disclosures: August 23, 2022.

                        (2) E-Discovery conference pursuant to L. Civ. R. 26.1(d): TBD.
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                      (3) Service of initial written discovery: September 23, 2022.

                      (4) Maximum of 15 Interrogatories by each party to each other party.

                      (5) Maximum of 5 depositions to be taken by each party.

                      (6) Motions to amend or to add parties to be filed by November 11, 2022.

                      (7) Factual discovery to be completed by January 31, 2023.

                      (8) Plaintiff’s expert report due on February 15, 2023.

                      (9) Defendant’s expert report due on March 17, 2023.

                      (10) Expert depositions to be completed by April 3, 2023.

                      (11) Dispositive motions to be filed by May 3, 2023.

              (d) Set forth any special discovery mechanism or procedure requested, including
              data preservation orders or protective orders: N/A.

              (e) A pretrial conference may take place at the Court’s convenience.

              (f) Trial by jury or non-jury trial? Non-jury trial.

              (g) Trial Date: May 2023.

   10. Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
       problems with out-of-state witnesses or documents, etc.)? No.

   11. Do you anticipate any issues about disclosure or discovery of electronically stored
       information, including the form or forms in which it should be produced? No.

      If so, how will electronic discovery or data be disclosed or produced? Describe any
      agreements reached by the parties regarding same, including costs of discovery,
      production, related software, licensing agreements, etc. TBD. If necessary, the parties
      will negotiate and submit to the Court for approval an ESI protocol.

   12. Do you anticipate the entry of a Discovery Confidentiality Order? See L. Civ. R. 5.3(b)
       and Appendix S. Not at this time. However, depending on the content of the parties’
       discovery requests, the parties reserve the right to enter into a discovery
       confidentiality order pursuant to which certain information may be produced.

   13. Do you anticipate any discovery problem(s) not listed above? Describe. No.

   14. State whether this case is appropriate for voluntary arbitration (pursuant to Local Civil
       201.1 or otherwise) or mediation (pursuant to Local Civil Rule 301.1 or otherwise). If not,
       explain why and state whether any such procedure may be appropriate at a later time (i.e.,
       after exchange of pretrial disclosures, after completion of depositions, after disposition or
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      dispositive motions, etc.). This case is not appropriate for voluntary arbitration. Both
      parties are amenable to early mediation pursuant to Local Civil Rule 301.1.

   15. Is this case appropriate for bifurcation? No.

   16. Any interim status/settlement conference (with clients in attendance), should be held at
       the court’s convenience.

   17. We do consent to the trial being conducted by a Magistrate Judge.

   18. Identify any other issues to address at the Rule 16 Scheduling Conference.

      Restorix intends to address scheduling a time to hear its replevin motion. Restorix
      believes there are grounds for this to be heard before discovery continues. Salem
      believes that the replevin motion should be scheduled after the close of discovery for
      the grounds stated in its Opposition to Plaintiff’s Motion for Replevin.




s/Christopher M. Farella                                   s/John P. Fazzio
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Attorneys for Plaintiff                                    Attorneys for Defendant
Restorix Health, Inc                                       Salem County Hospital Corp.




Dated: August 11, 2022
